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By the judgment appealed from a peremptory writ of mandamus was awarded against the defendant, a corporation *Page 108 
organized under the act of 1813 (23 Statutes at Large, 687), to provide for the incorporation of religious societies, commanding it to admit and restore the relator to membership of the German United Evangelical St. Stephen's Church of Buffalo, together with all the rights and liberties, privileges and franchises, and profits appertaining or belonging thereto, according to the command of the alternative writ of mandamus. The demurrer interposed by the relator to the return of the defendant to the alternative writ raises in addition to the question as to the sufficiency of the return the further question whether the relator showed title to the relief awarded by the facts stated in the alternative writ. The alternative writ, after setting out the incorporation of the defendant under the act of 1813, proceeds to state that the relator being a citizen residing at Buffalo was accepted by the defendant, and became a member of said church in the year 1856, and has ever since continued to be and still is a member thereof, and as such member hath a right in respect thereof to a voice in the election of its trustees and its general business transactions, and to the enjoyment of its real and personal property for the purpose of public worship and religious instruction; and that at a meeting held on the 6th of September, 1868, the defendant did by a majority of its corporators then present adopt the following resolutions: It was moved and seconded that the members (the relator and two others), having carried on a clandestine correspondence to Pittsbugh, Pennsylvania, detrimental to the Rev. Mr. Schelle, be relieved of the offices they hold in this congregation, and that other members be elected in their stead. It was moved and seconded that the secretary notify these members that they are relieved of their offices and expelled from the congregation. It then proceeds to set out the correspondence referred to in the resolutions, and to aver that no notice had been given to the relator of the charge specified in the resolutions, and that no notice of his trial upon any charge was given to him or the members of said church; and that the defendant ever since the 6th day of September, *Page 109 
1868, has prevented and still does prevent the relator from the exercise and enjoyment of the rights, privileges, liberties, franchises and profits appertaining and belonging to a membership of their church, to his no small damage and grievance and to the manifest injury of his feelings and estate.
It will be seen that although the removal from office of the relator and other members is declared in the resolutions of September 6th, 1868, yet it is not stated in the writ that the relater held any office in the corporation, nor any facts showing him entitled to any office therein, nor does he seek to be restored to any such office. The writ leaves it somewhat ambiguous as to what body passed the resolutions complained of by the relator, whether the corporation organized under the act of 1813, which by the statute is vested with the property and control of the temporal affairs of the corporation, or that composed of those who had united together for ecclesiastical relations and purposes, and for spiritual improvement, constituting what may properly be called the church. This ambiguity arises from the fact that in selecting a name for the corporation the name of the latter body was adopted. From the language of the writ I am inclined to the opinion that it was the latter body or church, who after having tried the relator according to its rules and discipline by the passage of the resolutions designed to convict the relator of a moral delinquency such as to require his exclusion from the church, and to exclude him therefrom without any reference to his rights as a member of the former body. This body (the church) is a voluntary association, having power to adopt its own rules for admission and discipline, and administer them in its own way, independent of any control by the courts while free from an intention to injure its members or those not belonging to it. (Petty v.Tooker, 21 N.Y., 267.) The resolutions, if passed by this body for the purpose of excluding the relator from the church and the spiritual privileges enjoyed by its members, were effectual for the purpose intended, while if passed by the corporation for the purpose of depriving the relator of the privileges secured to corporators *Page 110 
by the statute they were mere nullities. Again, the relator says that no notice of his trial upon any charge was given to him or the members of said church. This is peculiarly applicable to the trial of members by the church in the course of discipline, but has no application whatever to a trial by the corporation organized under the statute. Indeed the latter has no power to try for any moral delinquency or to disfranchise a corporator in consequence thereof. I think upon this ground the judgment of the Special Term quashing the writ should be sustained. To entitle the relator to the writ he should make a case clearly showing his right thereto. An ambiguous statement leaving it doubtful is not sufficient.
But if wrong in this, if the statement shows that the resolution was passed by the corporation, how stands the relator's case? We have already seen that he states no facts showing any title to any office in the corporation or that he has been deprived of any such office. If the statement to the effect that the relator became a member of the church in 1856, and has since continued and still is such member, is to be regarded as an averment that he then became a corporator, and has since so continued, and still is such, and, therefore, entitled to a voice in the election of its trustees, etc., and the enjoyment of its real and personal property for the purpose of public worship and religious instruction, the answer to the relator's case is, that if deprived of these rights wrongfully he has an adequate remedy for the injury against the persons guilty of the wrong. If any one excludes him from the proper enjoyment of the property for religious worship and instruction he can maintain an action therefor, and in fixing his damages the injury to his feelings may be considered. The same course may be taken if prevented from exercising his right to vote when entitled to such right by the statute. The resolutions are no obstacles to a vindication of the plaintiff's rights as a corporator. If deprived of these he has an adequate remedy for the wrong, and upon this ground the writ should be quashed. The resolutions probably do *Page 111 
exclude the relator from the church. If injustice was done the plaintiff in this respect, redress therefor must be had, if at all, by ecclesiastical proceedings under the rules or laws adopted by the church for its government and that of its members.
The judgment of the General Term must be reversed and that of the Special Term affirmed, with costs.
CHURCH, Ch. J., FOLGER and ALLEN, JJ., concur.
PECKHAM, RAPALLO and ANDREWS, JJ., do not vote.
Judgment accordingly